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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                    )
 MICHAEL DAVID SCOTT,               )
                                    )
    Plaintiff,                      )
                                    )
 v.                                 )
                                    )
 THE BANK OF NY MELLON TRUST        )                   Civil Action No. 1:24-cv-11614-AK
 COMPANY, N.A. AS SUCCESSOR-IN-     )
 INTEREST TO ALL PERMITTED          )
 SUCCESSORS AND ASSIGNS OF JP       )
 MORGAN CHASE BANK, AS TRUSTEE,     )
 FOR CERTIFICATE HOLDERS OF         )
 NOMURA ASSET ACCEPTANCE            )
 CORPORATION, MORTGAGE PASS-        )
 THROUGH CERTIFICATES, SERIES 2005- )
 AR2                                )
                                    )
    Defendants.                     )
                                    )

                      DEFENDANT’S MOTION TO DISMISS
               THE COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant The Bank of New York Mellon Trust

Company, N.A. as Successor-in-Interest To All Permitted Successors and Assigns of JP Morgan

Chase Bank, as Trustee, For Certificate Holders of Nomura Asset Acceptance Corporation,

Mortgage Pass-Through Certificates, Series 2005-AR2 (“Defendant”) moves this Court to dismiss,

with prejudice, the Complaint filed by Plaintiff Michael David Scott (“Plaintiff”) for failure to

state a claim upon which relief may be granted. In support of this motion, Defendant relies upon

its accompanying memorandum of law and the exhibits thereto.
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       WHEREFORE, Defendant prays that the Court grant this motion to dismiss, dismiss the

Complaint with prejudice and without leave to amend, enter judgment in favor of Defendant, and

grant such other and further relief that it deems appropriate.



                                      Rule 7.1 Certification

       Undersigned counsel hereby certifies that he conferred with the Plaintiff by telephone on

July 15, 2024 regarding this motion including a good faith attempt to narrow the issues raised in

it. Some of those discussions are referenced in the supporting memorandum of law.




                                                      Respectfully submitted,

                                                      The Bank of New York Mellon Trust
                                                      Company, N.A., as Successor-in-Interest to
                                                      All Permitted Successors and Assigns of
                                                      JPMorgan Chase Bank, N.A., as Trustee, for
                                                      Certificate Holders of Nomura Asset
                                                      Acceptance Corporation, Mortgage Pass-
                                                      Through Certificates Series 2003-AC5,

                                                      By its counsel,

                                                      /s/ David E. Fialkow
                                                      David. E. Fialkow (BBO #666192)
                                                      david.fialkow@klgates.com
                                                      K&L GATES LLP
                                                      One Congress Street
                                                      Boston, MA 02114
                                                      +1 617 261 3126
                                                      +1 617 261 3175 (f)
Dated: July 17, 2024




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                                CERTIFICATE OF SERVICE

        I, David E. Fialkow certify that the foregoing filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on this 17th day of July
2024.


                                                     /s/ David E. Fialkow
                                                     David E. Fialkow




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